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                                  United States District Court
                                  Northern District of Texas
                                        Dallas Division

 City of Dallas,

                 Plaintiff

 v.                                                      Case No. 3:23-cv-02367-K

 Triple D Gear, LLC,

                 Defendant


                 Defendant’s Original Answer and Affirmative Defenses

         Subject to and without waiving Defendant Triple D Gear, LLC’s Rule 12(b)(6) Motion for
Partial Dismissal and Brief in Support [Dkt. #11], Triple D files this Original Answer and Affirma-
tive Defenses to Plaintiff City of Dallas’ (the “City”) Original Complaint [Dkt. #1]. Triple D states
the following in response:
                                 NATURE OF THE ACTION
         1.      Paragraph 1 of the Complaint sets forth the nature of the City’s action and re-
quested relief to which no response is required. Nevertheless, Triple D admits that the City brings
this civil action for review of a decision of the Trademark Trial and Appeal Board of the United
States Patent and Trademark Office (“TTAB”) pursuant to 15 U.S.C. § 1071(b)(2) and for can-
cellation of registrations pursuant to 15 U.S.C. §§ 1119 and 1120. Triple D denies the remaining
allegation in Paragraph 1 that the registrations were fraudulently obtained.
         2.      Paragraph 2 of the Complaint sets forth the nature of the City’s action and re-
quested relief to which no response is required. Nevertheless, Triple D admits the City seeks re-
view of the TTAB’s decision dated August 23, 2023 in the matter of City of Dallas v. Triple D Gear,
LLC, Cancellation No. 92077406. Unless expressly admitted, denied.
         3.      Paragraph 3 of the Complaint sets forth the nature of the City’s action and re-

quested relief to which no response is required. Nevertheless, Triple D admits the City seeks


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cancellation of U.S. Trademark Nos. 4,586,688 and 6,330,048. Unless expressly admitted, denied.
       4.         Paragraph 4 of the Complaint sets forth the nature of the City’s action and re-

quested relief to which no response is required. Nevertheless, Triple D admits that the City seeks
cancellation of U.S. Trademark Registration Nos. 4,586,688 and 6,330,048. Unless expressly ad-
mitted, denied.
                                          THE PARTIES
       5.         Triple D admits this Court has original jurisdiction over the City’s request the
Court review a decision of the Trademark Trial and Appeal Board of the United States Patent and
Trademark Office pursuant to 15 U.S.C. § 1071(b). Triple denies the remaining allegations con-
tained in Paragraph 5.
       6.         Triple D admits the allegations contained in Paragraph 6.
                                 JURISDICTION AND VENUE
       7.         Triple D admits the allegations contained in Paragraph 7.
       8.         Triple D admits the allegations contained in Paragraph 8.
       9.         Triple D admits the allegations contained in Paragraph 9.
                             FACTS COMMON TO ALL COUNTS
                                      The City and its Mark
       10.        Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 10, and on that basis denies them.
       11.        Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 11, and on that basis denies them.
       12.        Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 12, and on that basis denies them.
       13.        The record under Cause No. DC-13-01632 in the 101st Judicial District Court of
Dallas County, Texas speaks for itself.
       14.        The record under Cause No. DC-13-01632 in the 101st Judicial District Court of
Dallas County, Texas speaks for itself. Triple D denies the remaining allegations in Paragraph 14.


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         The Triple D Gear Logos: “Basically, we just took the City of Dallas Logo.”
       15.      Triple D admits Ahmed Youssef (“Youssef”) and Artur Sanchez (“Sanchez”)

began doing business as co-owners of Triple D Gear in or around 2007.
       16.      Triple D denies the allegations contained in Paragraph 16.
       17.      Triple D denies the allegations contained in Paragraph 17.
       18.      Triple D denies the allegations contained in Paragraph 18.
       19.      Triple D denies the allegations contained in Paragraph 19.
       20.      Triple D denies the allegations contained in Paragraph 20.
       21.      Triple D admits the allegations contained in Paragraph 21.
       22.      Triple D admits the allegations contained in Paragraph 22.
       23.      Triple D denies the allegations contained in Paragraph 23.
       24.      Triple D is without sufficient knowledge or information to admit or deny any alle-
gations contained in Paragraph 24, and on that basis denies them.
       25.      The Declaration of Alfredo Arturo Sanchez, attached as Exhibit 3 to the Original
Complaint, speaks for itself. Unless expressly admitted, denied.
       26.      The Affidavit of Ahmed Youssef, attached as Exhibit 4 to the Original Complaint,
speaks for itself. Unless expressly admitted, denied.
       27.      Triple D is without sufficient knowledge or information to admit or deny any alle-
gations arising from unspecified deposition testimony, and on that basis denies them. Triple D
denies the remaining allegations in Paragraph 27.
       28.      Triple D admits that the screen shot shown in Paragraph 28 is of a prior webpage
on Triple D’s website that no longer exists due to the inaccuracies contained in the statement
quoted in Paragraph 28. Triple D denies the remaining allegations in Paragraph 28.
       29.      Triple D is without sufficient knowledge or information to admit or deny the alle-
gation contained in Paragraph 29, and on that basis denies them.
                                 The Challenged Registrations
                         Registration No. 4,586,688 for the Tilted Star Logo


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          30.   Triple D admits the allegations contained in Paragraph 30.
          31.   Triple D is also without sufficient knowledge or information to admit or deny al-

legations pertaining to the unspecified testimony of Sanchez, and on that basis denies them. Triple
D denies the remaining allegations contained in Paragraph 31.
          32.   The first sentence in Paragraph 32 contains a legal conclusion to which no re-
sponse is required. The USPTO record for U.S. Trademark Registration No. 4,586,688 speaks for
itself. Triple D denies all remaining allegations contained in Paragraph 32.
          33.   Triple D denies the allegations contained in Paragraph 33.
          34.   Triple D is also without sufficient knowledge or information to admit or deny al-
legations pertaining to the unspecified testimony of Sanchez, and on that basis denies them. Triple
D denies all remaining allegations contained in Paragraph 34.
          35.   Triple D denies the allegations contained in Paragraph 35.
          36.   The USPTO record for U.S. Trademark Registration No. 4,586,688 speaks for
itself.
          37.   Triple D admits that the Cancellation Proceeding against Freddie Jackson dba Tri-
ple D Clothing was filed on July 9, 2012. The USPTO record for Trademark Trial & Appeal Board
Cancellation No. 92055839 speaks for itself.
          38.   The record under Cause No. DC-13-01632 before the 101st Judicial District Court
of Dallas County, Texas speaks for itself.
          39.   The record under Cause No. DC-13-01632 before the 101st Judicial District Court
of Dallas County, Texas speaks for itself.
          40.   The USPTO record for Trademark Trial & Appeal Board Cancellation No.
92055839 speaks for itself.
          41.   Triple D admits the allegations contained in Paragraph 41.
          42.   Triple D admits the allegations contained in Paragraph 42.
          43.   The USPTO record for U.S. Trademark Registration No. 4,586,688 speaks for
itself. Triple D denies all remaining allegations contained in Paragraph 43.


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       44.      Triple D denies the allegations contained in Paragraph 44.
       45.      Triple D denies the allegations contained in Paragraph 45.

       46.      Triple D denies the allegations contained in Paragraph 46.
       47.      Triple D denies the allegations contained in Paragraph 47.
       48.      Triple D denies the allegations contained in Paragraph 48.
       49.      Triple D denies the allegations contained in Paragraph 49.
       50.      Triple D is without sufficient knowledge or information to admit or deny allega-
tions pertaining to any harm suffered by the City, and on that basis denies them.
                           Registration No. 6,141,994 for the Ghost Logo
       51.      Triple D admits the allegations contained in Paragraph 51.
       52.      The USPTO record for U.S. Trademark Registration No. 6,141,994 speaks for it-
self. Triple D is without sufficient knowledge or information to admit or deny allegations regarding
statements made in unspecified deposition testimony and declarations, and on that basis denies
them. Triple D denies all remaining allegations contained in Paragraph 52.
       53.      The USPTO record for U.S. Trademark Registration No. 6,141,994 speaks for it-
self. Triple D is without sufficient knowledge or information to admit or deny allegations regarding
statements made in unspecified deposition testimony, and on that basis denies them. Triple D de-
nies all remaining allegations contained in Paragraph 53.
       54.      The USPTO record for U.S. Trademark Registration No. 6,141,994 speaks for it-
self. Triple D denies all remaining allegations contained in Paragraph 54.
       55.      Triple D admits the allegations contained in Paragraph 55.
       56.      Triple D denies the allegations contained in Paragraph 56.
       57.      Triple D denies the allegations contained in Paragraph 57.
       58.      Triple D denies the allegations contained in Paragraph 58.
       59.      Triple D denies the allegations contained in Paragraph 59.
       60.      Triple D is without sufficient knowledge or information to admit or deny allega-
tions pertaining to any harm suffered by the City, and on that basis denies them.


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                         Registration No. 6,330,048 for the Tilted Star Logo
       61.      Triple D admits the allegations contained in Paragraph 61.

       62.      The USPTO record for U.S. Trademark Registration No. 6,330,048 speaks for
itself. Triple D denies all remaining allegations contained in Paragraph 62.
       63.      The USPTO record for U.S. Trademark Registration No. 6,330,048 speaks for
itself. Triple D denies all remaining allegations contained in Paragraph 63.
       64.      The USPTO record for U.S. Trademark Registration No. 6,330,048 speaks for
itself. Triple D admits that it had a bona fide intention to use the mark in commerce on or in con-
nection with the goods/services identified in the application under International Class 035. Unless
expressly admitted, denied.
       65.      The USPTO record for U.S. Trademark Registration No. 6,330,048 speaks for
itself. Triple D denies all remaining allegations in Paragraph 65.
       66.      Triple D admits the allegations contained in Paragraph 66.
       67.      Triple D denies the allegations contained in Paragraph 67.
       68.      The USPTO record for U.S. Trademark Registration No. 6,330,048 speaks for
itself. Triple D denies the allegations contained in Paragraph 68.
       69.      Triple D denies the allegations contained in Paragraph 69.
       70.      Triple D is without sufficient knowledge or information to admit or deny allega-
tions pertaining to any harm suffered by the City, and on that basis denies them.
                                        TTAB Proceedings
       71.      Triple D is without sufficient knowledge or information to admit or deny allega-
tions pertaining to when the City learned about certain registrations, and on that basis denies them.
Triple D admits receiving a cease-and desist letter from the City. Triple D admits the City filed a
TTAB Petition to Cancel the ‘994 Registration for the Ghost Logo on June 18, 2021. Unless ex-
pressly admitted, denied.
       72.      Triple D admits that it filed its answer on August 26, 2021 in Cancellation No.
92077406, and that the City agreed to suspend the cancellation proceeding for thirty days. Triple


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D denies the remaining allegations contained in Paragraph 72.
       73.          Triple D admits the allegations contained in Paragraph 73.

       74.          Triple D admits the allegations contained in Paragraph 74.
       75.          Paragraph 75 contains legal conclusions to which no response is required. Triple
D denies the remaining allegations contained in Paragraph 75.
       76.          Triple D denies the allegations contained in Paragraph 76.
       77.          Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 77, and on that basis denies them.
       78.          Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 78, and on that basis denies them.
       79.          Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 79, and on that basis denies them.
       80.          Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 80, and on that basis denies them.
       81.          Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 81, and on that basis denies them.
       82.          Triple D is without sufficient knowledge or information to admit or deny the alle-
gations contained in Paragraph 82, and on that basis denies them.

                                      CLAIMS FOR RELIEF

                         Request for Judicial Review of the TTAB Decision
                          (15 U.S.C. § 1071(b)(1) and 37 CFR § 2.145(c))
       83.          Triple D incorporates by reference its responses in the above paragraphs as if fully
set forth herein.
       84.          Triple D denies the allegations contained in Paragraph 84.
       85.          Triple D denies the allegations contained in Paragraph 85.

        Request for Cancellation of Trademark Registrations to Rectify the Register
                                     (15 U.S.C. § 1119)



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        86.         Triple D incorporates by reference its responses in the above paragraphs as if fully
set forth herein.

        87.         Triple D denies the allegations contained in Paragraph 87.
        88.         Triple D denies the allegations contained in Paragraph 88.
        89.         Triple D denies the allegations contained in Paragraph 89.

         Request for Cancellation of Fraudulently Obtained Trademark Registration
                                      (15 U.S.C. § 1120)
        90.         Subject to and without waiving Triple D’s Rule 12(b)(6) Motion for Partial Dis-
miss and Brief in Support [Dkt. #11], Triple D incorporates by reference its responses in the above
paragraphs as if fully set forth herein.
        91.         Subject to and without waiving Triple D’s Rule 12(b)(6) Motion for Partial Dis-
missal and Brief in Support [Dkt. #11], Triple D denies the allegations contained in Paragraph 91.
        92.         Subject to and without waiving Triple D’s Rule 12(b)(6) Motion for Partial Dis-
missal and Brief in Support [Dkt. #11], Triple D denies the allegations contained in Paragraph 92.
        93.         Subject to and without waiting Triple D’s Rule 12(b)(6) Motion for Partial Dis-
missal and Brief in Support [Dkt #11], Triple D denies the allegations contained in Paragraph 93.

                                      PRAYER FOR RELIEF

        Triple D denies that the City is entitled to any relief, including the relief requested in its

Prayer for Relief. Triple D respectfully requests the Court affirm the Trademark Trial and Appeal
Board’s decision denying the cancellation for the Ghost Logo, Registration No. 6,141,994, deny
the cancellations of the Tilted Star Logos, Registration Nos. 4,586,688 and 6,330,048, and award
Triple D all other relief the Court deems appropriate.

                                  AFFIRMATIVE DEFENSES

        Triple D asserts the following affirmative and other defenses in response to the allegations
in the Complaint.
        1.    The City’s claims are barred, in whole or in part, for failure to state a claim upon which



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relief can be granted.
       2.     The City’s claims are barred, in whole or in part, because the City has suffered no harm

or damages.
       3.     The City’s claims are barred, in whole or in part, because it has unclean hands.
       4.     The City’s claims are barred, in whole or in part, due to issue and/or claim preclusion,
and prior judgment.




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December 29, 2023                       Respectfully submitted,


                                        Griffith Barbee PLLC

                                        /s/ Casey Griffith

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                             CERTIFICATE OF SERVICE
       The undersigned certifies this document was filed electronically in compliance with Local
Rule 5.1. As such, it was served on all counsel of record on December 29, 2023.


                                                    /s/ Casey Griffith
                                                    Casey Griffith




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